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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                           Plaintiff,


                           vs.                            Case No. 07-10142-16-JTM


 SYCARR GREENLEY,
                           Defendant.




                                   MEMORANDUM AND ORDER

       Presently before the court is defendant Sycarr Greenley’s motion for reconsideration of

detention order (Dkt. No. 546). This court conducted a hearing on the matter on September 2,

2008. The court then took the matter under advisement, and ordered psychological and substance

abuse evaluations for Mr. Greenley (Dkt. No. 568).

         After a careful review of the results of the evaluations and upon the consideration of the

facts and circumstances surrounding this case, the court denies Mr. Greenley’s request, and

orders that he remain in custody.

       IT IS ACCORDINGLY ORDERED this 12 th day of February, 2009, that defendant

Greenley’s motion for reconsideration of detention order (Dkt. No. 546) is denied, and Greenley

is to remain in custody.




                                              s/ J. Thomas Marten
                                              J. THOMAS MARTEN, JUDGE
